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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA


  UNITED STATES OF AMERICA,                    )
                                               )
                           Plaintiff,          )
      vs.                                      )      No. 2:10-cr-007-JMS-CMM-18
  TIMOTHY BAILEY                               )
                                               )
                           Defendants.         )




               Entry Denying Motion for Modification of Sentence

         Defendant Bailey seeks the modification of his sentence imposed on October
  13, 2011, insofar as he seeks the court to designate a specific payment plan for the
  fine he owes as part of that sentence. The sentence specifies that Bailey is fined
  $1,000.00, that he owes an assessment totaling $100.00, and that his payment
  “shall begin immediately.” Bailey’s concern is that the language used in imposed
  sentence has improperly delegated authority to set the payment schedule to the
  Federal Bureau of Prisons (BOP), which has in turn used the “extortion” of its
  Inmate Financial Responsibility Program (“IFRP”), see 28 C.F.R. §§ 545.10, 545.11,
  to require payments from him which are oppressive.

         Where a criminal judgment orders the payment of a fine or restitution, the
  payment plan imposed by the BOP does not amount to an unconstitutional
  delegation of judicial authority. See McGhee v. Clark, 166 F.3d 884, 886 (7th Cir.
  1999). This ruling was followed in Chaney v. Olsen, 92 Fed.Appx. 362 (7th Cir.
  2004), wherein the Seventh Circuit explained that when a district court in its
  sentence “orders immediate payment, it is not an impermissible delegation for
  prison authorities to set the payment schedule . . . . Ordering immediate payment is
  not an improper delegation, because ‘such directives generally are interpreted to
  require not immediate payment in full but ‘payment to the extent that the
  defendant can make it in good faith, beginning immediately.“ Additionally, such an
  order “does not preclude the BOP through the IFRP from ensuring that a defendant
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  makes good-faith progress toward satisfying his debt.” Id. (citing McGhee, 166 F.3d
  884).

        As to Bailey’s concern that he is the victim of extortion because the BOP has
  employed the IFRP, “[c]ompelled participation in the IFRP neither punishes
  inmates nor extorts money from inmates.” Neal v. Watts, 2008 WL 748321 (D.D.C.
  Mar. 17, 2008).

        Based on the foregoing, therefore, Bailey’s motion for modification of sentence
  [1287] is denied.

        IT IS SO ORDERED.



                                              _______________________________
        02/19/2013
  Date: _________________
                                                Hon. Jane Magnus-Stinson, Judge
                                                United States District Court
                                                Southern District of Indiana
  Distribution:

  Timothy Bailey
  09474-028, Unit Knox B
  Federal Correctional Inst.
  P.O. Box 4000
  Manchester, KY 40962-4000

  Bradley A. Blackington
  Bradley.blackington@usdoj.gov
